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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 HEINDEL SIRIBUOR,                  )
                                    )
                       Plaintiff,   )                                 Case No.
                                    )
           v.                       )
                                    )                                 Jury Trial Requested
 UHS OF DENVER, INC., D/B/A         )
 HIGHLANDS BEHAVIORAL HEALTH SYSTEM )
                                    )
           and                      )
                                    )
 UHS OF DELAWARE, INC., D/B/A       )
 UNIVERSAL HEALTH SERVICES, INC.    )
                                    )
                       Defendants.  )

                                           COMPLAINT

        NOW COMES, Plaintiff, HEINDEL SIRIBUOR, appearing in propria persona, and

 complaining of Defendants, UHS OF DENVER, INC., d/b/a Highlands Behavioral Health

 System and UHS of Delaware, Inc., d/b/a Universal Health Services, Inc., and states as follows:

                                 PRELIMINARY STATEMENT

        1.      This is an action brought by Plaintiff pursuant to Title VII of the Civil Rights Act

 of 1964, as amended, 42 U.S.C. §§ 2000e et seq., ("Title VII"), for employment discrimination.

 Plaintiff seeks equitable and other relief under 42 U.S.C. § 2000e(5)(g).

                                 JURISDICTION STATEMENT

        2.      Jurisdiction of this Court is conferred specifically by 42 U.S.C. § 2000e(5).

 Jurisdiction is additionally invoked pursuant to 28 U.S.C. §§ 1343(a)(3) and (4), 28 U.S.C. §

 1331 and 42 U.S.C. §§ 1981 et seq. for the purposes of securing protection and redressing


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  deprivation of rights under Title VII. Declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202

  is also sought.

                                                 VENUE

          3.        Venue is proper pursuant to 28 U.S.C. §§ 1391(b)(1) and (2).

                                                PARTIES

         4.         Plaintiff, HEINDEL SIRIBUOR, is a male resident of the State of Colorado

  whose national origin is Ghana.

         5.         Defendant, UHS OF DENVER, INC., d/b/a Highlands Behavioral Health System,

  ("HBHS"), is a corporation properly recognized and sanctioned by the laws of the State of

  Colorado. At all relevant times hereto, HBHS conducts, and continues to conduct, business in the

  State of Colorado. HBHS is an employer of more than fifteen (15) employees pursuant to 42

  U.S.C. § 2000e(b).

         6.         Defendant, UHS OF DELAWARE, INC., d/b/a Universal Health Services, Inc.,

  ("UHS"), is a corporation properly recognized and sanctioned by the laws of the State of

  Delaware. At all relevant times hereto, UHS remains, and continues to remain, a parent company

  of HBHS. UHS is an employer of more than fifteen (15) employees pursuant to 42 U.S.C. §

  2000e(b).

                                             PROCEDURE

         7.         Plaintiff filed a Charge of Discrimination with the Equal Employment

  Opportunity Commission ("EEOC") on or about November 10, 2011 regarding Defendants'

  discriminatory conduct. The EEOC issued Plaintiff attached "Notice of Suit Rights" on

 November 23, 2011 which was received by Plaintiff on or about December 1, 2011. The Notice




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 of Suit Rights entitles Plaintiff to commence a civil action in the appropriate forum within ninety

 (90) days of its receipt. Plaintiff initiated this action within said ninety (90) day period.

                             COUNT I TITLE VII HARRASSMENT
                                        -                -




         8.      Paragraphs one (1) through seven (7) are incorporated by reference as if fully set

                 out herein.

        9.       Plaintiff commenced his employment with Defendants as a Registered Nurse on

 or about January 28, 2010 until his employment termination on October 14, 2011.

         10.     Plaintiff worked at Defendants' hospital, HBHS, located at 8565 South Poplar

 Way, Littleton, Colorado.

         11.     From commencement of employment to the time of Plaintiffs employment

 termination by Defendants, to the best of Plaintiffs information and belief, he was the only

 fulltime Black Registered Nurse both on the shift he worked and in Defendants' employ at

 HBHS, and one (1) of only two (2) Black Registered Nurses with Defendants at said Hospital,

 with the other being female and employed for scheduling by Defendants on "as needed" basis.

         12.     After change in leadership resulting in the assumption of office by Lana Currance

 as Chief Clinical Officer in about the first quarter of 2011, and until Plaintiffs employment

 termination on October 14, 2011, the work environment became increasingly hostile to Plaintiff.

         13.     Plaintiff was subjected to constant innuendos about his skin color by his

 coworkers, such as "midnight catastrophe." When Plaintiff says "Hi" to coworkers that ignore

 him, they would say, "he is Black, he is Black" as explanation. Coworkers would also make

 comments among themselves such as "he should go back to Africa."

         14.     Plaintiff did not complain as he was usually the only Black employee present and

 believed he would not have a witness willing to admit or state what had been said. Additionally,



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 the Night Shift Supervisor, Cindy Molello, would be many times present or a part of the racial

 slurs and comments Plaintiff was subjected to.

         15.    Above mentioned acts of Defendants, Paragraphs twelve (12) and thirteen (13),

 were willful, reckless, and malicious acts of unlawful discrimination against Plaintiff on account

 of his race, Black, in violation of the provisions of Title VII of the Civil Rights Act of 1964, as

 amended, 42 U.S.0 § 2000e et seq.

         16.    On or about April 26, 2011, Plaintiff was kept at the Human Resources Office at

 HBHS for disciplining in an incident in which he had only done his job as the Charge Nurse,

 even though he had made known that he had a physician's appointment he needed to attend. This

 constituted a part of the constant harassment, and accentuated the hostile work environment, and

 is willful, reckless, and malicious act of unlawful discrimination against Plaintiff on account of

 his race, Black, in violation of the provisions of Title VII of the Civil Rights Act of 1964, as

 amended, 42 U.S.0 § 2000e et seq.

         17.    Following above stated occurrence, and following employer protocol, Plaintiff

 filed a complaint regarding said missed physician appointment on or about April 28, 2011, with

 Lana Currance, the Chief Clinical Officer. Plaintiff was ignored and received no response to said

 complaint. This constituted a part of the constant harassment, and accentuated the hostile work

 environment, and is willful, reckless, and malicious act or omission of unlawful discrimination

 against Plaintiff on account of his race, Black, in violation of the provisions of Title VII of the

 Civil Rights Act of 1964, as amended, 42 U.S.0 § 2000e et seq.

         18.    As a direct proximate result of Defendants' alleged willful and reckless acts or

 omissions above, Plaintiff has suffered damages, including but not limited to, lost wages and

 benefits and physical and emotional harm.



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                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, HEINDEL SIRIBUOR, prays for judgment against Defendants,

 UHS OF DENVER, INC., d/b/a Highlands Behavioral Health System and UHS OF

 DELAWARE, INC., d/b/a Universal Health Services, Inc., and respectfully requests that this

 Court:

          A.       Declare the conduct of Defendants to violate the rights guaranteed to Plaintiff

 under appropriate Federal Law;

          B.       Grant a permanent injunction restraining Defendants, their officers, successors,

 assigns, and all persons in active concert or participation with them, from engaging in unlawful

 employment discrimination against employees in violation of Title VII;

          C.       Order Defendants to make whole Plaintiff by providing the equitable relief

 necessary to eradicate the effects of Defendants' unlawful practices;

          D.       Order defendant to pay lost and future wages to Plaintiff;

          E.       Grant Plaintiff any consequential, compensatory, punitive, and any other damages

 that the Court may deem appropriate;

          F.       Grant Plaintiff such further relief as the Court deems necessary and proper in the

 public interest; and

          G.       Grant Plaintiff his attorney fees, costs, and disbursements should he retain one.

                      COUNT II - TITLE VII - RACIAL DISCRIMINATION

          19.      Paragraphs one (1) through eighteen (18) are incorporated by reference as if fully

 set out herein.




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          20.    In furtherance to Defendants' aforementioned willful and reckless disregard for

 Plaintiffs civil rights, Defendants subjected Plaintiff to adverse terms and conditions of

 employment Defendants did not subject similarly-situated employees.

          21.    Plaintiffs performance was scrutinized over and above similarly-situated

 employees.

          22.    Plaintiff was unfairly disciplined beginning the first quarter of 2011 up to

  Plaintiffs termination on October 14, 2011. Prior to this period, Plaintiffs performance review

  had been positive.

          23.    Plaintiffs application for employer-offered educational assistance was denied on

  September 13, 2011.

          24.    Alleged practices above constitute willful, reckless, and malicious acts or

  omissions of unlawful discrimination against Plaintiff on account of his race, Black, in violation

  of the provisions of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.0 § 2000e et

  seq.

          25.    As a direct proximate result of Defendants' alleged willful and reckless acts or

  omissions above, Plaintiff has suffered damages, including but not limited to, lost wages and

  benefits and physical and emotional harm.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, HEINDEL SIRIBUOR, prays for judgment against Defendants,

 UHS OF DENVER, INC., d/b/a Highlands Behavioral Health System and UHS OF

 DELAWARE, INC., d/b/a Universal Health Services, Inc., and respectfully requests that this

 Court:




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        A.      Declare the conduct of Defendants to violate the rights guaranteed to Plaintiff

 under appropriate Federal Law;

        B.      Grant a permanent injunction restraining Defendants, their officers, successors,

 assigns, and all persons in active concert or participation with them, from engaging in unlawful

 employment practices against employees in violation of Title VII;

        C.      Order Defendants to make whole Plaintiff by providing the equitable relief

 necessary to eradicate the effects of Defendants' unlawful practices;

         D.      Order defendant to pay lost and future wages to Plaintiff;

         E.      Grant Plaintiff any consequential, compensatory, punitive, and any other damages

 that the Court may deem appropriate;

        F.      Grant Plaintiff such further relief as the Court deems necessary and proper in the

 public interest; and

        G.      Grant Plaintiff his attorney fees, costs, and disbursements should he retain one.



                                     JURY TRIAL DEMAND

        26.     Plaintiff requests trial by jury on all issues of fact and law raised by the

 allegations in this Complaint.



 Dated: January 1 0, 2012.

                                                                Respectfully submitted,

                                                                /s/ Heindel Siribuor
                                                                HEINDEL SIRIBUOR, Plaintiff
 P.O. Box 31151
 Aurora, CO 80041
 (720) 275 1926
 heindel@hotmail.com


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                      DECLARATION UNDER PENALTY OF PERJURY

  The undersigned declares under penalty that he is the plaintiff in the above action, and that he

  has read the above complaint and that the information contained therein is true and correct. 28

  U.S.C. § 1746; 18 U.S.C. § 1621.
  Executed at Denver, Colorado on January 10, 2012.


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EEOC Form 161 (11/09)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Heindel Siribuor                                                               From:     Denver Field Office
       5281 Altura Street                                                                       303 East 17th Avenue
       Denver, CO 80239                                                                         Suite 410
                                                                                                Denver, CO 80203


                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative                                                                                    Telephone No.

                                                Myrna DeQuiroga,
541-2012-00459                                  Intake Supervisor                                                      (303) 866-1310
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)



                                                             - NOTICE OF SUIT RIGHTS               -


                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On be If of the Commission

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Enclosures(s)
                                                                   Nancy A. Sienko,                                          (Date Mailed)
                                                                      Director
CC:                                                   c/./
           Suzanne Martinez
           Director Human Resources
           UNIVERSAL HEALTH SERVICES
           8565 South Poplar Way
           Littleton, CO 80130
